UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    JANE DOE,
                               Plaintiff,

                        -against-

    SEAN COMBS, DADDY’S HOUSE
    RECORDINGS, INC., CE OPCO, LLC d/b/a
    COMBS GLOBAL f/k/a COMBS ENTERPRISES                    Case No. 1:24-cv-09852 (JLR)
    LLC, BAD BOY ENTERTAINMENT HOLDINGS,
                                                                      ORDER
    INC., BAD BOY PRODUCTIONS HOLDINGS,
    INC., BAD BOY BOOKS HOLDINGS, INC., BAD
    BOY RECORDS LLC, BAD BOY
    ENTERTAINMENT LLC, BAD BOY
    PRODUCTIONS LLC, ORGANIZATIONAL DOES
    1-10, and INDIVIDUAL DOES 1-10,
                               Defendants.


JENNIFER L. ROCHON, United States District Judge:

        WHEREAS on December 20, 2024, Plaintiff filed her Complaint against Defendants

(Dkt. 1); and

        WHEREAS on December 22, 2024, Plaintiff filed a motion for leave to appear

anonymously (Dkts. 4, 8; see also Dkts. 5-7) 1; and

        WHEREAS Defendants have not yet been served and have not appeared in this case;

and

        WHEREAS Plaintiff has made a sufficient showing to temporarily proceed

anonymously; it is hereby

        ORDERED that Plaintiff shall file a renewed motion to proceed anonymously no later

than thirty (30) days after service of the Complaint, in order to provide Defendants with an



1
 Insofar as the motion at Dkt. 4 names Shawn Carter as a defendant, the Court notes that he
has not been named as a party in the Complaint. See generally Dkt 1.
opportunity to respond to the motion. If Plaintiff fails to timely file this motion, the Court

shall order the disclosure of her identity.

       The Clerk of Court is respectfully requested to terminate the pending motions at Dkts.

4 and 8.

Dated: December 23, 2024
       New York, New York

                                                           SO ORDERED.



                                                           JENNIFER L. ROCHON
                                                           United States District Judge




                                                2
